Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 1 of 7
Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 2 of 7
Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 3 of 7
Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 4 of 7
Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 5 of 7
Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 6 of 7
Case 5:18-bk-01275-MJC   Doc Filed 11/03/21 Entered 11/03/21 12:03:22   Desc
                         Main Document   Page 7 of 7
